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                     IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

 UNITED STATES OF AMERICA


                                                  Criminal No. l:17-CR-^tf^dS

 STEVEN J. GRAVES,

                       Defendant.




                                    STATEMENT OF FACTS

         The United States and the defendant, STEVEN J. GRAVES, stipulate that the allegations
in the two-count criminal information and the following facts are true and correct and that, had
the matter gone to trial, the United States would have proven them beyond a reasonable doubt
with competent and admissible evidence.

A.      Background

         1.    The United States Department of Stale("DoS") was a department of the United

States government.

        2.     The Office ofAcquisitions Management ("AQM") was a component within the
DoS that was responsible for most ofthe DoS's operational acquisitions, including acquisition
planning, contract negotiations, cost and price analysis, and contract administration.

        3.     On or about November 6,2011. the defendant, STEVEN J. GRAVES

(''GRAVES"), was employed in Arlington, Virginia as a contract specialist and senior contracts
administrator with die DoS's AQM. In his position asa contract specialist with the AQM,
GRAVES was authorized to perform most of the functions that a contracting officer could
perform. GRAVES did not hold a warrant, however, and he was not authorized to bind the DoS
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